                                   COURT OF APPEALS
                                EIGHTH DISTRICT OF TEXAS
                                     EL PASO, TEXAS

                                                '
Mary Elisa Wise,                                                No. 08-16-00202-CR
                                                '
                             Appellant,                            Appeal from the
v.                                              '
                                                                 264th District Court
The State of Texas,                             '
                                                                of Bell County, Texas
                                                '
                            State.
                                                 '                   (TC# 69640)



                                           ORDER

       Appellant has filed a pro se notice of appeal. The trial court’s certification states that

Appellant waived the right to appeal. See TEX.R.APP.P. 25.2(d). A court of appeals should

review the appellate record to determine whether the certification is accurate. See Dears v.

State, 154 S.W.3d 610 (Tex.Crim.App. 2005). The Bell County District Clerk has provided the

Court with several documents, including the judgment adjudicating guilt, but none of the

documents show that Appellant affirmatively waived her right to appeal. We have determined

that it will be necessary to review the clerk’s record and the reporter’s record of the adjudication

hearing to confirm whether Appellant waived her right to appeal. It is therefore ordered that the

District Clerk prepare a clerk’s record containing the documents set forth in TEX.R.APP.P.

34.5(a). Any documents showing Appellant waived her right to appeal should also be included




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in the clerk’s record. The court reporter is ordered to prepare the reporter’s record of the

adjudication hearing conducted in the above-styled and numbered cause. The Record shall be

filed with this Court on or before October 26, 2016.

       IT IS SO ORDERED this 26th day of September, 2016.



                                                   PER CURIAM

Before McClure, C.J., Rodriguez and Hughes, JJ.




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